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                    UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF FLORIDA
                           TAMPA DIVISION




 VASSILIOS KUKORINIS,                            Case No.
 individually and on behalf of all
 others similarly situated,                      CLASS ACTION COMPLAINT
                                                 JURY TRIAL DEMAND
                     Plaintiff,
        v.

 WALMART, INC.,

                     Defendant.


       Plaintiff   Vassilios   Kukorinis       (“Plaintiff”),   by   and   through   his

undersigned counsel, brings this class action complaint against Defendant

Walmart, Inc. (“Walmart” or the “Defendant”), individually and on behalf of all

others similarly situated, and alleges upon personal knowledge as to his own

acts and experiences, and as to all other matters, upon information and belief,

including the investigation conducted by Plaintiff’s counsel.

            NATURE OF THE ACTION AND SUMMARY OF FACTS

       1.     Walmart, which dominates the United States market for grocery

sales, touts that it “helps people around the world save money and live better”

by servicing approximately 230 million customers a week worldwide. 1 Walmart


   1Source: Walmart Inc., Form 10-K Annual Report pursuant to the Securities
Exchange Act of 1934, for the fiscal year ended January 31, 2022 (filed with the
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publicly represents that “a cornerstone of our business” is “our commitment to

price leadership”, and “[b]y leading on price, we earn the trust of our customers

every day by providing a broad assortment of quality merchandise…at

everyday low prices.” Source: 2021 Form 10-K.

      2.    The reality, however, is that Walmart uses unfair and deceptive

business practices to deceivingly, misleadingly, and unjustly pilfer, to

Walmart’s financial benefit, its customers’ hard-earned grocery dollars.

      3.    Like most grocery stores, Walmart advertises the price of its

groceries using a price tag or sticker that is displayed on or near the product,

often the sticker is affixed to the store shelf where the product is presented for

sale (the “Price Sticker(s)”). Typically, Walmart’s Price Stickers provide the

Customer with: an abbreviated description of the product, the product’s retail

price, and the unit price (the per ounce or per pound price) of the product.

      4.    However, Plaintiff and thousands of other Walmart customers

(“Customers”) have been subjected to the following four systemic unfair and

deceptive business practices implemented by Walmart in its stores in Florida

and nationwide, which result in Customers being charged and paying more

than a product’s lowest advertised per pound/ounce price.



Securities & Exchange Commission (“SEC”) on March 18, 2022), herein after
referenced      as       the      “2022      Form       10-K”     found    at:
https://www.sec.gov/ix?doc=/Archives/edgar/data/104169/000010416922000012/wmt-
20220131.htm.
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       5.   Falsely Inflating Product Weight: Walmart sells groceries that

are sold and priced by weight (the “Sold-by-Weight Products”). 2 Walmart

utilizes Price Stickers to advertise to Customers the Sold-by-Weight Products’

unit price (i.e. the per ounce or per pound price). In addition, Sold-by-Weight

Products are offered at sale prices; Walmart’s version of a sale is called a

“Rollback”, which is a markdown from the original base price of an item that

is in effect for 90 days. A Rollback is identified by customers shopping at

Walmart typically by red signage that is displayed with the product or affixed

to the product’s sticker price on the shelf (a “Rollback Sticker”). For Sold-by-

Weight Products Walmart advertises the Rollback price as a new, reduced per

pound or ounce price (“Rollback Price”). It is reasonable and expected for

Plaintiff and Customers to rely on, and reasonable to expect that they

will pay, the lowest advertised price on a Price Sticker and/or Rollback

Sticker. However, Walmart ultimately does not charge, and the Customer does

not pay the lowest advertised price on the Rollback Sticker or Price Sticker for

the Sold-by-Weight products. Instead, at the register, when the Customer

checks-out, Walmart’s Point of Sale (“POS”) system deceptively, systemically

and artificially increases the weight of the product at checkout, resulting in




   2 “Sold-by-Weight Products” are meat, poultry, seafood, bakery items, and produce
that are sold by weight for a price calculated as the product’s net weight times the
price per unit of weight for the product.
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the Customer paying an inflated price. This deceptive conduct is referenced

herein as “Falsely Inflating (or Inflated) Product Weight”, and is further

addressed in paragraphs 39-51, infra.

      6.    Mislabeling Weight of Bagged Produce: Specifically, Walmart

uses Price Stickers to sell its bulk produce (often sold in mesh or plastic bags)

(the “Bagged Produce”). Walmart, however, sells Bagged Produce utilizing a

Price Sticker that is false, misleading and deceptive, in that it falsely

represents and advertises a weight of the Bagged Produce that is materially

more than the actual weight of the Bagged Produce being sold. As a result,

Plaintiff and Customers paid more per ounce than what Walmart offered and

advertised on the Price Sticker for the Bagged Produce. This wrongdoing is

referenced herein as “Mislabeled Bagged Produce”, and is further addressed in

paragraphs 52-58, infra.

      7.    Overcharging of Sold-by-Weight Clearance Products: When

Sold-by-Weight Products are nearing their expiration dates or put on sale due

to overstock (the “Clearance Products”), Walmart will advertise them for sale

at a reduced price, denoted by a yellow sticker affixed directly to the product

(“Yellow Sticker”). The Yellow Sticker provides the Customer with: the date on

which Walmart “REDUCED” the price of the product; a brief identification of

the product; the offered and advertised price per pound/ounce of the product;

the amount the Customer will “SAVE”; and the “You Pay!” price. However,

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when the product’s weight is multiplied by the advertised per pound sale price

on the Yellow Sticker, the price does not equal the “You Pay!” price. Instead,

the “You Pay!” price is materially higher. At the register, Walmart charges the

Customer the inflated “You Pay!” price. Customers are deceived and misled

into paying more than the advertised per pound price on the Yellow Sticker.

This wrongdoing is referenced herein as “Overcharging on Sold-by-Weight

Clearance Products”, and is further addressed in paragraphs 59-73, infra.

      8.    Overcharging of Sold-by-Weight Seafood Products: Walmart

advertises the price of its seafood using a Price Sticker (discussed above).

Walmart, however, sells Sold-by-Weight seafood products utilizing a Price

Sticker that is false, misleading and deceptive, in that it falsely represents and

advertises a per pound or ounce price of the Sold-by-Weight seafood products

that is materially less than the per pound / ounce price charged to the

Customers at check-out. As a result, Plaintiff and Customers paid more per

ounce than what Walmart offered and advertised on the Price Sticker for the

Sold-by-Weight seafood products. This wrongdoing is referenced herein as

“Overcharging on Sold-by-Weight Seafood Products”, and is further addressed

in paragraphs 74-83, infra.

      9.    Walmart’s conduct of Falsely Inflating Product Weight, selling

Mislabeled Bagged Produce, Overcharging on Sold-by-Weight Clearance

Products and Overcharging on Sold-by-Weight Seafood Products has occurred

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during the four years prior to the date of the filing of this Complaint (“Relevant

Period”).

      10.   The information on Rollback Stickers, Price Stickers, and Yellow

Stickers associated with the Sold-by-Weight Products, Bagged Produce, and

Clearance Products, is objective pricing information, it induces Plaintiff and

Customers to purchase the product, it is material to their purchasing decisions,

and Customers reasonably rely on it to: be accurate; not mislead or deceive;

identify the price for the product; identify products that are on sale or

clearance; and, compare pricing among brands by retail price, unit price, or

quantity.

      11.   Walmart’s conduct is systemic and driven by its POS software that

is programed to falsify weights, unit prices and ultimate product prices.

Plaintiff’s experiences and counsel’s investigation reveal that the frequency

and consistent pattern of the falsification practices are not mere errors. Rather,

they are symptomatic of a programmed fraudulent scheme.

      12.   When Walmart employees have been confronted with evidence of

the overcharges alleged herein, they (a) could not explain how weight

falsification and unit pricing manipulation had occurred; (b) could not correct

the weight and/or price information at check-out or were required to attempt

to “override” the POS (often unsuccessfully); (c) acknowledged instances of

prior improper pricing; and (d) expressed fear in losing their job if they

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acknowledged the wrongful pricing conduct. In instances when a Walmart

employee acknowledged improper pricing any correction (based on Plaintiff’s

knowledge and his observations) affected the one transaction brought to their

attention, and there was no correction to in-store signage, product labels, or,

more broadly, Walmart’s POS software.

      13.   As a result of Walmart’s conduct of Falsely Inflating Product

Weight, selling Mislabeled Bagged Produce, Overcharging on Sold-by-Weight

Clearance Products, and Overcharging on Sold-by-Weight Seafood Products,

Plaintiff and Customers were overcharged by Walmart for Sold-by-Weight

Products, Bagged Produce, and Clearance Products, thereby suffering actual

damage.

      14.   Walmart’s false, misleading, unfair and deceptive conduct of

Falsely Inflating Product Weight, selling Mislabeled Bagged Produce,

Overcharging on Sold-by-Weight Clearance Products, and Overcharging on

Sold-by-Weight Seafood Products, individually and in the aggregate, violates

state consumer protection statutes and state common law in each state where

Sold-by-Weight Products, Bagged Produce and Clearance Products are offered

and sold by Walmart.

      15.   Plaintiff brings this action on behalf of classes of persons who,

within the applicable statutes of limitations, purchased Sold-by-Weight

Products, Bagged Produce and Clearance Products, from or at Walmart and

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were overcharged by being charged amounts that exceeded the lowest

advertised prices on Rollback Stickers, Price Stickers, and/or Yellow Stickers

due to Walmart Falsely Inflating Product Weight, selling Mislabeled Bagged

Produce, Overcharging on Sold-by-Weight Clearance Products, and/or

Overcharging on Sold-by-Weight Seafood Products.

      16.    On behalf of himself and other similarly situated Customers,

Plaintiff seeks: to recover actual damages, refunds, attorneys’ fees, and the

costs of this litigation; and, class-wide injunctive relief to permanently enjoin

these deceptive, unfair, and unconscionable practices that Walmart continues

to employ.

                                  PARTIES

      17.    Plaintiff Vassilios Kukorinis (“Plaintiff”) is a resident of Tampa

Florida. At various times during the Relevant Period, including on the dates

identified in paragraphs 45-51, 56-57, 66-68, 79, 82-83, infra, Plaintiff

purchased from and at Walmart stores in Florida, and specifically in this

judicial district, Sold-by-Weight Products, Bagged Produce and Clearance

Products, with Rollback Stickers, Price Stickers, and Yellow Stickers (as

applicable), and paid amounts that exceeded the lowest per pound/ounce

advertised prices.

      18.    Defendant Walmart, incorporated in Delaware with its principal

offices located in Bentonville, Arkansas, is engaged in global operations of

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retail, wholesale and other units, as well as eCommerce, located throughout

the U.S., Africa, Canada, Central America, Chile, China, India and

Mexico. Walmart’s operations are conducted in three reportable segments:

Walmart U.S., Walmart International and Sam's Club. Source: 2022 Form 10-

K.

      19.    Walmart U.S. is Walmart’s largest segment and operates over

4,700 stores in the U.S., including in all 50 states, Washington D.C. and Puerto

Rico. Source: 2022 Form 10-K. Walmart U.S. is a mass merchandiser of

consumer     products,   operating   under   the   “Walmart”     and   “Walmart

Neighborhood Market” brands, as well as walmart.com and other eCommerce

brands. Source: 2022 Form 10-K.

      20.    Walmart U.S.’s net sales represent the majority of Walmart’s net

sales: for fiscal 2022, Walmart U.S. had net sales of $393.2 billion, representing

69% of Walmart’s fiscal 2022 consolidated net sales, and had net sales of $370.0

billion and $341.0 billion for fiscal 2021 and 2020, respectively. Source: 2022

Form 10-K.

      21.    Of Walmart’s three operating segments, Walmart U.S. has

historically had the highest gross profit as a percentage of net sales and has

historically contributed the greatest amount to Walmart’s net sales and

operating income. Source: 2022 Form 10-K. In its fiscal year ended January 1,

2022, Walmart U.S. alone reported $470.295 billion in revenues representing

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over 80% of Walmart’s total revenues. Source: 2022 Form 10-K.

      22.   Walmart U.S. does business in three strategic merchandise units

(source: 2022 Form 10-K):

            (a)   Grocery: Walmart’s grocery merchandise unit consists of “a

      full line of grocery items, including dry grocery, snacks, dairy, meat,

      produce, deli & bakery, frozen foods, alcoholic and nonalcoholic

      beverages, as well as consumables such as health and beauty aids, pet

      supplies, household chemicals, paper goods and baby products…”

            (b)   General merchandise: Walmart’s general merchandise

      unit consists of “Entertainment (e.g., electronics, toys, seasonal

      merchandise, wireless, video games, movies, music and books);

      Hardlines (e.g., automotive, hardware and paint, sporting goods, outdoor

      living and stationery); Apparel (e.g., apparel for men, women, girls, boys

      and infants, as well as shoes, jewelry and accessories); and Home (e.g.,

      housewares and small appliances, bed & bath, furniture and home

      organization, home furnishings, home decor, fabrics and crafts).”

            (c)   Health and wellness: Walmart’s health and wellness

      merchandise unit consists of “pharmacy, over-the-counter drugs and

      other medical products, optical services and other clinical services.”

      23.   Brand name merchandise represents a significant portion of the

merchandise sold in Walmart U.S., but Walmart also markets lines of

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merchandise under its private brands including the “Marketside” brand of

produce. Source: 2022 Form 10-K.

      24.   Walmart, through its Walmart U.S. segment, has enjoyed

increased net sales since 2020. Net sales for the Walmart U.S. segment

increased $23.3 billion or 6.3% and $29.0 billion or 8.5% for fiscal 2022 and

2021, respectively, when compared to the previous fiscal year. Walmart’s

increases in net sales were primarily due to increases in comparable sales of

6.4% and 8.7% for fiscal 2022 and 2021, respectively.

      25.   As of January 31, 2022, Walmart’s Walmart U.S segment operates

340 Walmart Supercenters, Discount Stores, Neighborhood Markets and other

small store formats in Florida, and over 4,700 Walmart Supercenters, Discount

Stores, Neighborhood Markets and other small store formats in the United

States. Source: 2022 Form 10-K.

      26.   Each of Walmart’s Supercenters, Discount Neighborhood Markets

are identified by Walmart as providing Customers with “grocery”. Id. at 7.

                       JURISDICTION AND VENUE

      27.   The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2)

because the matter in controversy, exclusive of interests and costs, exceeds the

sum or value of $5,000,000 and is a class action in which there are in excess of

100 class members, and some of the members of the class are citizens of states

different from Walmart.

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      28.    This Court has personal jurisdiction over Walmart because

Walmart conducts significant business in Florida. Walmart has 341 retail

stores in Florida, employing and providing goods and services to tens of

thousands of Florida residents. Source: https://www.walmart.com/store-

directory/fl, last visited 10/19/2022.

      29.    Because Walmart markets, advertises, promotes, distributes, and

sells the Sold-by-Weight Products, Bagged Produce and Clearance Products,

and uses Rollback Stickers, Price Stickers, and Yellow Stickers with such

products, in Florida, the claims arise out of or relate to Walmart’s contacts with

Florida and Walmart is subject to personal jurisdiction in Florida.

      30.    Because Walmart’s conduct of Falsely Inflating Product Weight,

selling Mislabeled      Bagged    Produce,    Overcharging on    Sold-by-Weight

Clearance Products and Overcharging on Sold-by-Weight Seafood Products,

occurred in Florida, and in Walmart stores in Florida, Walmart is subject to

personal jurisdiction in Florida.

      31.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§

1391(a) and (b) because a substantial part of the events and omissions giving

rise to Plaintiff’s claims occurred in this judicial district.

      32.    Venue is also proper under 28 U.S.C. § 1391(c) because Walmart

is a corporation that does business in and is subject to personal jurisdiction in

this District.

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                          FACTUAL ALLEGATIONS

       A.    Walmart Dominates U.S. Grocery Sales

       33.   According to the National Retail Federation, Walmart is ranked as

the number one retailer based on US sales (with Amazon a distant second) 3; it

“has [] ridden a tidal wave of growth during the pandemic. Sales are up about

9% since 2019, to $573 billion...” 4. Indeed, from 1990 to 2020, the number of

items stocked in grocery stores like Walmart nearly doubled from 16,500 to

31,119, and from 1995 to 2020, the average grocery store size grew by 30%. 5

       34.   Walmart is also the U.S. leader in grocery sales.             Walmart

accounted for more than one-quarter of all grocery revenues in the

United States, with fiscal year 2022 sales of $467 billion. 6 Walmart “dominates

the U.S. grocery market and is, by far, the largest food retailer in the country

and so it remains the number one grocery chain.” Id.

       35.   Gone are the days of the neighborhood grocer and abundant small,

local retail businesses. Walmart's “strategy of race-to-the-bottom prices


   3  Source: 2022 Top 100 Retailers, bused on US Sales, https://nrf.com/blog/2022-
top-100-retailers last visited on 10/19/2022.
    4 Source: Forbes, Lauren Debter, “The World’s Largest Retailers 2022”, available

at:    https://www.forbes.com/sites/laurendebter/2022/05/12/worlds-largest-retailers-
2022-amazon-walmart-alibaba/?sh=3f36050559e3, last visited on 10/19/2022.
    5 Source: FMI (The Food Industry Association), Supermarket facts (various years),

available at https://www.fmi.org/our-research/supermarket-facts, last visited on
10/19/2022.
    6 Source: FoodIndustry.com, Who are the top 10 Grocers in the United States?,

updated for 2020 (n.d.), https://www.foodindustry.com/articles/top-10-grocers-in-the-
united-states-2019/ last visited on 10/19/2022.
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squeezed out many smaller grocers and other local retailers”, including by

causing other larger supermarket chains to respond by expanding their own

market presence by purchasing and integrating other regional chains. 7

         36.   Walmart dominates with its consolidated and vertically integrated

shopping experience, with stores that include deli, meat, seafood counters and

in-store bakeries as well as in-store pharmacies, gasoline pump stations,

ready-to-go meals and snacks, and general merchandise. 8

         37.   Indeed, the majority of Walmart U.S. net sales by merchandise

category are in the Grocery Category, with $218.944 billion, $208.413 billion,

and $192.428 billion for 2022, 2021, 2021 fiscal years respectively, out of

$393.247 billion, $369.963 billion, and $341.004 billion of Walmart U.S.’s total

net sales for 2022, 2021, 2021 fiscal years, respectively. Source: 2022 Form 10-

K.




     Source: Food & Water Watch, 11/2021, Issue Brief, The Economic Cost of Food
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Monopolies:           The         Grocery      Cartels,        available       at
https://www.foodandwaterwatch.org/wp-
content/uploads/2021/11/IB 2111 FoodMonoSeries1-SUPERMARKETS.pdf,            last
visited on 10/19/2022.
    8 Source: Jenny Rudd, Checking out productivity in grocery stores, 8

PRODUCTIVITY 1 (Dec. 2019), U.S. Bureau of Labor Statistics, available at
https://www.bls.gov/opub/btn/volume-8/checking-out-productivity-in-grocery-
stores.htm, last visited on 10/19/2022.
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      B.    Walmart’s     False,   Misleading,     Unfair    and    Deceptive
            Practices

      38.   Plaintiff and millions of other Walmart Customers have been

subjected to the following four systemic, unfair and deceptive business

practices implemented by Walmart throughout it stores with respect to grocery

products sold in Florida and nationwide. Each practice results in Customers

being overcharged an amount in excess of the lowest advertised price on

Rollback Stickers, Price Stickers, and/or Yellow Stickers.

            (1)   Falsely Inflating Product Weight

      39.   Walmart sells Sold-by-Weight Products. Walmart utilizes Price

Stickers to advertise to Customers the Sold-by-Weight Products’ unit price (i.e.

the per ounce or per pound price), and, when Walmart puts those products on

a “Rollback” sale, Walmart typically utilizes a Rollback Sticker, which is

signage displayed with the product or affixed to the product’s Price Sticker.

      40.   Examples of Price Stickers and Rollback Stickers for Sold-by-

Weight Products are depicted in the Photos A.1, A.2, A.3:




                                                      Photo A.1

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                                                          Photo A.2




                                Photo A.3

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      41.   As depicted in the examples in Photos A.1, A.2 and A.3, above,

for Sold-by-Weight Products Walmart advertises: (a) a per pound/per ounce

price on the Price Sticker; and (b) a Rollback Price, as a new, reduced per pound

/ ounce price. Customers reasonably rely on and reasonably expect to be

charged and to pay the lowest advertised price on the Price Sticker or Rollback

Sticker, as applicable.

      42.   However, Walmart ultimately does not charge, and the Customer

does not pay, the lowest advertised price for the Sold-by-Weight Products.

      43.   Instead, at the register, when the Customer checks-out,

Walmart’s POS system deceptively, programmatically and artificially

increases the weight of the Sold-by-Weight Products.

      44.   Walmart’s Falsely Inflating Product Weight is depicted in the

following pictures (all highlighting/interlineations/redactions have been added

to all photos herein). As reflected in the corresponding information on the

product’s package and the receipt, Walmart and its POS falsely changed and

inflated the net weight of each product at check out, resulting in the

Plaintiff and Customer being charged more than the lowest advertised price.

      45.   Photo B.1. below reflects pertinent information for a purchase

made by Plaintiff on July 21, 2022 at the Walmart on Kennedy Blvd. in Tampa,

Florida. The original price per pound for the product was $8.98, which for the

1-pound item yielded an $8.98 price. The Rollback Sticker shows the per pound

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      46.   Photo B.2 below reflects pertinent information for a purchase

made by Plaintiff on September 25, 2022 at the Walmart on W. Kennedy Blvd

in Tampa, Florida. The original price per pound for the product was $2.34

which, when multiplied by the indicated weight of 5.13 lbs., yielded a $12.00

price. The Rollback Sticker shows the per pound price being reduced to $2.12,

which should have yielded a $10.87 price for the item. Instead, at check out,

Walmart and its POS: (a) inflated the weight of the Sold-by-Weight Product

from 5.13 pounds to 5.660 pounds, (b) multiplied the inflated weight by $2.12,

and (c) charged Plaintiff $12.00, instead of the correct, advertised price of

$10.87 (5.131 lbs. x $2.12). Accordingly, Plaintiff was overcharged $1.13.




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                                Photo B.2.




                                    20
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      47.   Photo B.3 below reflects pertinent information for a purchase

made by Plaintiff on July 1, 2022 at the Walmart on W. Gandy Blvd. in Tampa,

Florida. The Price Sticker (as does the receipt) shows the per pound price as

$3.78, which should have yielded a $11.87 price for the item (3.14 pounds x

$3.78 per lb). Instead, at check out, Walmart and its POS (a) inflated the

weight of the Sold-by-Weight Product from 3.14 pounds to 3.310 pounds; (b)

multiplied the inflated weight by $3.78, and (c) charged Plaintiff $12.50,

instead of the correct, advertised price of $11.87. Accordingly, Plaintiff was

overcharged $0.63.




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                             Photo B.3




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      48.   Photo B.4 below reflects pertinent information for a purchase

made by Plaintiff on July 10, 2022 at the Walmart on Causeway Blvd in

Brandon, Florida. The Price Sticker (as does the receipt) shows the per pound

price as $7.98, which should have yielded a $7.42 price for the item (.93 pounds

x $7.98 per lb). Instead, at check out, Walmart and its POS (a) inflated the

weight of the Sold-by-Weight Product from 0.93 pounds to 1.050 pounds, (b)

multiplied the inflated weight by $7.98, and (c) charged Plaintiff $8.35, instead

of the correct, advertised price of $7.42. Accordingly, Plaintiff was overcharged

$0.93.




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                                 Photo B.4


      49.   Photos B.5.1-B.5.2 below reflect pertinent information for a

purchase made by Plaintiff on July 10, 2022 at the Walmart on Kennedy Blvd.

in Tampa, Florida. The original price per pound for the product was $4.36

which, when multiplied by the indicated weight of 2.41 lbs., yielded a $10.51

price. The Rollback Sticker shows the per pound price being reduced to $3.92,

which should have yielded a $9.45 price for the item. Instead, at check out,


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Walmart and its POS: (a) inflated the weight of the Sold-by-Weight Product

from 2.41 pounds to 2.680 pounds, (b) multiplied the inflated weight by $3.92,

and (c) charged Plaintiff $10.51, instead of the correct, advertised price of

$9.45. Accordingly, Plaintiff was overcharged $1.06.




                                Photo B.5.1



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                                  Photo B.5.2




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         50.   Photo B.6 below reflects pertinent information for a purchase

made by Plaintiff on October 17, 2022 at the Walmart on W. Kennedy Blvd. in

Tampa, Florida. The Price Sticker (as does the receipt) shows the per pound

price as $5.68, which should have yielded a $7.44 price for the item (1.31

pounds x $5.68 per lb). Instead, at check out, Walmart and its POS (a) inflated

the weight of the Sold-by-Weight Product from 1.31 pounds to 1.4 pounds, (b)

multiplied the inflated weight by $5.68, and (c) charged Plaintiff $7.96, instead

of the correct, advertised price of $7.42. Accordingly, Plaintiff was overcharged

$0.54.




                                     Photo B.6

                                       27
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      51.   Photo B.7 below reflects pertinent information for a purchase

made by Plaintiff on October 17, 2022 at the Walmart on W. Kennedy Blvd. in

Tampa, Florida. The Price Sticker (as does the receipt) shows the per pound

price as $11.47, which should have yielded a $13.88 price for the item (1.21

pounds x $11.47 per lb). Instead, at check out, Walmart and its POS (a) inflated

the weight of the Sold-by-Weight Product from 1.21 pounds to 1.32 pounds, (b)

multiplied the inflated weight by $11.47, and (c) charged Plaintiff $15.09,

instead of the correct, advertised price of $11.47. Accordingly, Plaintiff was

overcharged $1.21.




                                  Photo B.7
                                      28
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(2)   Mislabeling Weight of Bagged Produce

      52.   Like most grocery stores, Walmart advertises the price of its

groceries using a Price Sticker that is displayed on or near the product, and

often the sticker is affixed to the store shelf where the product is presented for

sale, as depicted in the following Photos C1, C2 (lines added):




      Photo C.1                             Photo C.2

      53.   As depicted in the foregoing Photos C.1, C.2, Walmart’s Price

Stickers provide the Customer with: (a) an abbreviated description of the

product; (b) the product’s retail price; and, (c) the unit price (the per ounce or

per pound price) of the product.

      54.   Walmart, however, sells Bagged Produce utilizing a Price Sticker

that is false, misleading and deceptive, in that it falsely represents and

advertises a weight of the Bagged Produce that is materially more than the

actual weight of the Bagged Produce being sold. As a result, Plaintiff and

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Customers paid more per ounce than what Walmart offered and advertised on

the Price Sticker for the Bagged Produce.

      55.   Walmart’s Mislabeling Weight of Bagged Produce is depicted in

the following examples.

      56.   Photo C.3 below reflects pertinent information for a purchase

made by Plaintiff on January 17, 2022 at the Walmart on W. Kennedy Blvd. in

Tampa, Florida. On the product’s Price Sticker Walmart offered and advertised

that the Bagged Produce contained 3 lbs of tangerines. In addition, Walmart’s

Price Sticker advertised that the tangerines were 9.1 cents per ounce.

However, (A) the Bagged Produce only contained 2 lbs of tangerines; and (B)

at check out, Walmart charged Plaintiff $4.34 (3 lbs/48 oz x 9.1 cents per

ounce), instead of $2.91 for the 2 lb bag of tangerines (2 lbs/32 oz x 9.1 cents

per ounce). Plaintiff was overcharged by $1.43.




                                      30
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                                   Photo C.3




                                    31
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      57.   Photos C.4.1, 4.2 and 4.3 below reflect pertinent information for

a purchase made by Plaintiff on January 13, 2022 at the Walmart on N. Dale

Mabry Highway in Tampa, Florida. On the product’s Price Sticker Walmart

offered and advertised that the Bagged Produce contained 4 lbs of oranges. In

addition, Walmart’s Price Sticker advertised that the oranges were 9.9 cents

per ounce. However: (A) the Bagged Produce only contained 3 lbs of oranges;

and (B) at check out, Walmart charged Plaintiff $6.28 (4 lbs/64 oz x 9.9 cents

per ounce), instead of $4.75 for the 3 lb bag of oranges (3lbs/48 oz x 9.9 cents

per ounce). Plaintiff was overcharged by $1.53, a 33% overcharge.




      Photo C.4.1                                      Photo C.4.2

                                      32
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                                      Photo C.4.3


      58.   Photo C.5 below reflects pertinent information about a voided

transaction made by Plaintiff on January 16, 2022 at the Walmart on

Causeway Blvd. in Brandon, Florida. On the product’s Price Sticker, Walmart

offered and advertised that the Bagged Produce contained 5 lbs of grapefruit.

In addition, Walmart’s Price Sticker advertised that the grapefruit were 7.3

cents per ounce. However: (A) the Bagged Produce only contained 4 lbs of

grapefruit; and (B) at check out, Walmart’s POS displayed a price of $5.78

instead of $4.67 for the 4 lb bag of grapefruit (4lbs/64 oz x 7.3 cents per ounce).

                                        33
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                                 Photo C.5




                                    34
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      (3)   Overcharging of Sold-by-Weight Clearance Products:

      59.   Walmart advertises Sold-by-Weight Clearance Products using a

Yellow Sticker, examples of which are Photos D.1.1 and D.1.2:




                               Photo D.1.1




                                    35
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                                Photo D.1.2


      60.   As depicted in Photos D.1.1 and D.1.2 above, Walmart’s Yellow

Sticker provides the Customer with: (A) the date on which Walmart

“REDUCED” the price of the product; (B) a brief identification of the product;

(C) the offered and advertised price per pound/ounce of the product; (D) the

amount the Customer will “SAVE”; and (D) the “You Pay!” price.




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      61.   However, the “SAVE” and “You Pay” amounts on the Yellow

Stickers are false and misleading.

      62.   When the product’s weight is multiplied by the per pound sale

price that is advertised on the Yellow Sticker, the price does not equal the “You

Pay!” price. Instead, the “You Pay!” price is materially higher. At the register,

Walmart charges the Customer the inflated “You Pay!” price.

      63.   Customers are deceived and misled into paying more than the per

pound price that is advertised on the Yellow Sticker.

      64.   In addition, Customers are deceived by the information on the

Yellow Sticker, having reasonably believed and expected (and it is exactly what

Walmart intended the Customer to believe) that, on the Yellow Sticker

Walmart, had “done the math” for the Customer, and that the math (i.e. the

calculation of the “You Pay” price was done correctly). It was not.

      65.   Walmart’s Overcharging of Sold-by-Weight Clearance Products is

depicted in the following examples.

      66.   Photo D.2 below reflects pertinent information for a purchase

made by Plaintiff on or about June 18, 2021 at the Walmart on W. Dale Mabry

Highway in Tampa, Florida. Walmart advertised on its Yellow Sticker that the

Sold-by-Weight Clearance Product “IS $7.34/LB”. However, when the weight

of the product, i.e. 1.45 pounds, is multiplied by the advertised per pound sale

price of $7.34/lb, the price to Plaintiff should have been $10.64. Instead, the

                                       37
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Yellow Sticker identifies a higher “You Pay!” price of $13.17, which is what

Walmart charged Plaintiff. Walmart overcharged Plaintiff by $2.53, a 24%

overcharge.




                                    Photo D.2

      67.     Photo D.3 below reflects pertinent information for a purchase

made by Plaintiff on September 18, 2022 at the Walmart on W. Kennedy Blvd.

in Tampa, Florida. Walmart advertised on its Yellow Sticker that the Sold-by-

Weight Clearance Product “IS $2.61/LB”. However, when the weight of the

product, i.e. 2.61 pounds, is multiplied by the advertised per pound sale price
                                      38
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of $2.61/lb, the price to Plaintiff should have been $6.81. Instead, the Yellow

Sticker identifies a higher “You Pay!” price of $7.17, which is what Walmart

charged Plaintiff. At check out, Walmart and its POS: (a) inflated the weight

of the Sold-by-Weight Product from 2.61 pounds to 2.750 pounds, (b) multiplied

the inflated weight by $2.61, and (c) charged Plaintiff $7.17, instead of the

correct, advertised price of $6.81 (2.61 lbs x $2.61 per lb). Walmart overcharged

Plaintiff by $0.36.




                                     Photo D.3

                                       39
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      68.   Photo D.4 below reflects pertinent information for a purchase

made by Plaintiff on June 18, 2021 at the Walmart on N. Dale Mabry Hwy. in

Tampa, Florida. Walmart advertised on its Yellow Sticker that the Sold-by-

Weight Clearance Products “IS $2.87/LB” and “IS $3.72/LB”. However, when

the weight of the products, i.e. 1.07 and 0.99 pounds, are multiplied by the

advertised per pound sale price of $2.87 and $3.72, the price to Plaintiff should

have been $3.07 and $3.68, respectively. Instead, the Yellow Stickers identify

a higher “You Pay!” price of $3.20 and $3.81, respectively, which is what

Walmart charged Plaintiff.




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                                Photo D.4




                                    41
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      69.   Photo D.5 below reflects pertinent information observed by

Plaintiff on or about February 25, 2022 at a Walmart in Florida. Walmart

advertised on its Yellow Sticker that the per pound price for the Sold-by-

Weight Clearance Product “IS $8.16/LB”. However, when the weight of the

product, i.e. 1.84 pounds, is multiplied by the advertised per pound sale price

of $8.16/lb, the price should have been $15.01. Instead, the Yellow Sticker

identifies a higher “You Pay!” price of $20.07, an over 33% overcharge.




                                     Photo D.5




                                      42
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      70.   Photo D.6 below reflects pertinent information observed by

Plaintiff on or about May 27, 2022 at the Walmart on Kennedy Blvd. in Tampa,

Florida. Walmart advertised on its Yellow Sticker that the per pound price for

the Sold-by-Weight Clearance Product “IS $2.95/LB”. However, when the

weight of the product, i.e. 3.43 pounds, is multiplied by the advertised per

pound sale price of $2.95/lb, the price should have been $10.12. Instead, the

Yellow Sticker identifies a higher “You Pay!” price of $10.65.




                                     Photo D.6




                                      43
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      71.   Photo D.7 below reflects pertinent information observed by

Plaintiff on or about June 16, 2021 in a Walmart store in Florida. For the Sold-

by-Weight Clearance Product, Walmart advertised on the Yellow Sticker that

the per pound price for the product “IS $4.31/LB”. However, when the weight

of the product, i.e. 2.74 pounds, is multiplied by the advertised per pound sale

price of $4.31/lb, the price should have been $11.81. Instead, the Yellow

Sticker identifies a higher “You Pay!” price of $13.88. Therefore, Walmart

charges Customers $2.07 in excess of the lowest advertised sale price on the

Yellow Sticker.




                                  Photo D.7
                                      44
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      72.   Photo D.8 below reflects pertinent information observed by

Plaintiff on or about June 16, 2021 in a Walmart store in Florida. For the Sold-

by-Weight Clearance Product, Walmart advertised on the Yellow Sticker that

the price per pound for the product “IS $10.11/LB”. However, when the weight

of the product, i.e. 0.56 pounds, is multiplied by the advertised per pound sale

price of $10.11/lb, the price should have been $5.66.      Instead, the Yellow

Sticker identifies a higher “You Pay!” price of $6.32, and Walmart charges the

Customer $6.32. Therefore, Walmart charges Customers $0.66 in excess of the

lowest advertised sale price on the Yellow Sticker.




                                  Photo D.8

                                      45
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      73.   Photo D.9 below reflects pertinent information observed by

Plaintiff on or about June 18, 2021 in a Walmart store in Florida. For the Sold-

by-Weight Clearance Product, Walmart advertised on the Yellow Sticker that

the per pound price for the product “IS $3.85/LB”. However, when the weight

of the product, i.e. 2.57 pounds, is multiplied by the advertised per pound sale

price of $3.85/lb, the price should have been $9.89. Instead, the Yellow Sticker

identifies a higher “You Pay!” price of $10.23. Therefore, Walmart charges

Customers $0.34 in excess of the lowest advertised sale price on the Yellow

Sticker.




                                     Photo D.9




                                      46
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      C.    Overcharging of Sold-by-Weight Seafood Products

      74.   Walmart advertises the price of its seafood using a Price Sticker

(discussed above).

      75.   Customers reasonably rely on and reasonably expect to be

charged and to pay the lowest advertised price on the Price Sticker.

      76.   However, Walmart ultimately does not charge, and the Customer

does not pay, a price for the Sold-by-Weight Seafood Products that is the lowest

advertised price on the Price Sticker.

      77.   Walmart’s Price Stickers for Sold-by-Weight Seafood Products

utilize and display a Price Sticker that is false, misleading and deceptive. It

falsely represents and advertises a per pound or ounce price of the Sold-by-

Weight Seafood Products that is materially less than the per pound / ounce

price charged by Walmart and its POS. As a result, Plaintiff and Customers

paid more per ounce for Walmart’s Sold-by-Weight Seafood Products than what

Walmart offered and advertised on the Price Sticker for those products.

      78.   Walmart’s Overcharging of Sold-by-Weight Seafood Products is

depicted in the following pictures (highlighting/interlineations/redactions

added to photos).

      79.   Photos E.1 and E.2. below reflect pertinent information for a

purchase made by Plaintiff on March 30, 2020 at the Walmart on W. Gandy

Blvd. in Tampa, Florida. The weight of the product is 8 ounces and the Price

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Sticker for the product represents and offers the product at $8.83 per pound

(or $0.55 per ounce). Therefore, the price for the product should have been

$4.40 (8 ounces x $0.55). Instead, at check out, Walmart and its POS charged

Plaintiff $6.62. Accordingly, Plaintiff was overcharged $2.22.




                                  Photo E.1




                                      48
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                                Photo E.2




                                    49
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      80.   Photo E.3 reflects pertinent information observed by Plaintiff in

or around February 2020 at a Walmart store in Florida. The weight of the

product is .55 pounds and the Price Sticker for the product represents and

offers the product at $20.00 per pound. Therefore, the price for the product

should have been $11.00 (.55 x $20). Instead, the price is $20.81, 90% or $9.81

more than the lowest advertised price on the Price Sticker.




                                  Photo E.3




                                      50
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      81.   Photo E.4 reflects pertinent information observed by Plaintiff on

or after March 14, 2020 at a Walmart store in Florida. The weight of the

product is 10 ounces and the Price Sticker for the product represents and offers

the product at $8.31 per pound, which is $0.52 per ounce. Therefore, the price

for the product should have been $5.20 (10 oz x $0.52). Instead, the price is

$6.23, $1.03 more than the lowest advertised price on the Price Sticker.




                                  Photo E.4




                                      51
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      82.   Photo E.5 reflects pertinent information for a purchase made by

Plaintiff on October 17, 2022 at the Walmart on W. Kennedy Blvd. in Tampa,

Florida. The weight of the product is 1.23 lbs and the Price Sticker for the

product represents and offers the product at $6.58 per pound. Therefore, the

price for the product should have been $8.09 (1.23 lbs x $6.58). Instead, at

check out, Walmart and its POS: (a) inflated the weight of the Sold-by-Weight

Seafood Product from 1.23 pounds to 1.25 pounds; (b) multiplied the inflated

weight by $6.58 per pound, and (c) charged Plaintiff $8.22, instead of the

correct, advertised price of $8.09. Accordingly, Plaintiff was overcharged $0.13.




                                       Photo E.5



                                       52
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      83.   Photo E.6 reflects pertinent information for a purchase made by

Plaintiff on October 17, 2022 at the Walmart on W. Kennedy Blvd. in Tampa,

Florida. The weight of the product is .55 lbs and the Price Sticker for the

product represents and offers the product at $14.98 per pound. Therefore, the

price for the product should have been $8.24 (.55 lbs x $14.98). Instead, at

check out, Walmart and its POS: (a) inflated the weight of the Sold-by-Weight

Seafood Product from .55 pounds to .59 pounds; (b) multiplied the inflated

weight by $14.98 per pound, and (c) charged Plaintiff $8.90, instead of the

correct, advertised price of $8.24. Accordingly, Plaintiff was overcharged $0.66.




                                       Photo E.6



                                       53
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      D.      Walmart’s Conduct Deceives and Misleads Customers, and
              Causes Actual Damage

      84.     Walmart’s conduct of Falsely Inflating Product Weight, selling

Mislabeled Bagged Produce, Overcharging on Sold-by-Weight Clearance

Products, and Overcharging on Sold-by-Weight Seafood Products, has occurred

during the Relevant Period.

      85.     On information and belief, Walmart’s conduct of Falsely Inflating

Product Weight, selling Mislabeled Bagged Produce, Overcharging on Sold-by-

Weight Clearance Products, and Overcharging on Sold-by-Weight Seafood

Products, has occurred during the Relevant Period in Walmart’s stores

nationwide.

      86.     The information on Rollback Stickers, Price Stickers, and Yellow

Stickers associated with the Sold-by-Weight Products, Bagged Produce, and

Clearance Products, is objective pricing information. It is the information that

Plaintiff and Customers are entitled to reasonably rely on to:

                  •     identify the price for the product;

                  •     identify products that are on sale or clearance; and,

                  •     compare pricing among brands by retail price, unit

                        price, or quantity.

      87.     Further, the information on Rollback Stickers, Price Stickers, and

Yellow Stickers is integral to the Plaintiff’s and Customers’ decisions, as it


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induces them to purchase the offered Sold-by-Weight Products, Bagged

Produce, and Clearance Products.

      88.   The information on Rollback Stickers, Price Stickers, and Yellow

Stickers is relied on by Customers to clearly and accurately convey, and not

mislead or deceive about pricing of the product and what the Customer will be

charged and pay for the product.

      89.   In addition, Plaintiff and Customers reasonably expect to be

charged and to pay the advertised per pound/ounce price on Rollback Stickers,

Price Stickers, and Yellow Stickers for Sold-by-Weight Products, Bagged

Produce and Clearance Products (as applicable), and have such advertised per

pound/per ounce price applied to the actual net weight of the product offered

and being purchased by Walmart, and not applied to a false, artificially

inflated weight of the Sold-by-Weight Product.

      90.   Further, Walmart is dominant in the US grocery market, and

Plaintiff and Customers often do not have a reasonable alternative to shopping

at Walmart for their groceries. Plaintiff will continue to shop at Walmart.

      91.   As a result of Walmart’s conduct of Falsely Inflating Product

Weight, selling Mislabeled Bagged Produce, Overcharging on Sold-by-Weight

Clearance Products, and Overcharging on Sold-by-Weight Seafood Products,

Plaintiff and Customers were charged and paid amounts that exceeded the

lowest advertised prices on Rollback Stickers, Price Stickers, and Yellow

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Stickers for Sold-by-Weight Products and Bagged Produce thereby suffering

actual damage.

      92.   Plaintiff’s counsel’s investigation identified Walmart’s unfair and

deceptive pricing practices of Falsely Inflating Product Weight, selling

Mislabeled Bagged Produce, Overcharging on Sold-by-Weight Clearance

Products, and Overcharging on Sold-by-Weight Seafood Products, at Walmart

stores in the United States.

      E.    Walmart’s POS Systems

      93.   Walmart utilizes proprietary and sophisticated point of sale / point

of service technology that, among other things, manages, tracks and stores

Walmart’s product sales and inventory data nationwide.

      94.   On information and belief, Walmart currently uses its legacy

Point-of-Sale and next-generation Cloud Powered Checkout services. In

addition, Walmart has maintained, among other database management

systems, transactional information databases called “Teradata” and the

“Walmart Pay” application. The preceding are collectively referred to

“Walmart’s POS Systems”.

      95.   Even over a decade ago, “trillions of bytes' worth of shopper history

[was] stored in [Walmart’s] computer network”, and, “[b]y its own count,

[Walmart] has 460 terabytes of data stored on Teradata mainframes… at its

Bentonville headquarters. To put that in perspective, the Internet has

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less than half as much data, according to experts.” 9 Indeed,

          Wal-Mart amasses more data about the products it sells and its shoppers'
          buying habits than anyone else, so much so that some privacy advocates
          worry about potential for abuse.

          With 3,600 stores in the United States and roughly 100 million
          customers walking through the doors each week, Wal-Mart has access to
          information about a broad slice of America -- from individual Social
          Security and driver's license numbers to geographic proclivities for
          Mallomars, or lipsticks, or jugs of antifreeze.

          The data are gathered item by item at the checkout aisle, then
          recorded, mapped and updated by store, by state, by region.

          Information about products, and often about customers, is most often
          obtained at checkout scanners. Wireless hand-held units, operated by
          clerks and managers, gather more inventory data. In most cases, such
          detail is stored for indefinite lengths of time….

Id.
          96.   In addition to its POS Systems, for well over two decades Walmart

has made available to its suppliers Walmart’s Retail Link®, a reporting

software developed by Walmart that collects point of sale data and inventory

data. 10 Walmart uses Retail Link® to provide suppliers all information about

their sales through data via SKU, per hour and per store. 11


      Source: Hays, Constance, NYT, 11/14/2004, “What Walmart Knowns About
      9

Customers’                   Habits”,                   Available                 at:
https://www.nytimes.com/2004/11/14/business/yourmoney/what-walmart-knows-
about-customers-habits.html, last accessed 10/19/2022.
   10 “WALMART’S RETAIL LINK® – AN INVALUABLE TOOL FOR SELLERS!”

https://18knowledge.com/blog/walmart-retail-link-invaluable-tool-for-sellers/    last
accessed 10/19/2022.
   11       “Retail       Link        –       How         Does        it      Help?”,
https://supplierwiki.supplypike.com/articles/retail-link-how-does-it-help        last
accessed 10/19/2022.
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      97.   Further, Walmart maintains detailed purchase data on a per

customer basis consisting of the purchased products’ UPC or serial number,

the price paid, the date of purchase, and the store at which the product was

purchased. This information is used by Walmart for, among other things,

Customers who seek to return items without receipts and Walmart’s loss-

prevention purposes. For non-receipted returns, Walmart’s policy states that

“If you do not have your receipt or order number, the store may be able to look

up your purchase if you have: - The credit or debit card used to make the

purchase in-store. - The email or phone number used to make the purchase

online.” https://www.walmart.com/cp/returns/1231920. As to Walmart’s loss

prevention policy, Walmart stores Customer information to be able to track

non-receipted return activity; Customers who attempt an excessive amount of

non-receipted returns may become ineligible to make a return without a

receipt.

      98.   The existence, maintenance, use and availability of such detailed

data by Walmart, at the corporate level for its stores nationwide, is also

confirmed, for example, by the production and use of such data in litigation

involving Walmart. For example, in Farneth v Walmart Stores, Inc., Civil

Action-Class Action, No. G.D. 13-11472, Allegheny County, Pennsylvania,

Court of Common Pleas, counsel for the certified class sought and Walmart

was ordered in 2018 to produce the following detailed data production: for each

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and every transaction occurring at a Walmart store in Pennsylvania where at

least one coupon was tendered, and the manufacturer’s code from the coupon

was read or captured by the Walmart POS system (or any Walmart database

management system) matched the manufacturer’s code of at least one taxable

item purchased, Walmart was to produce the name and address of the

customer for each transaction where the customer used a form of payment

other than cash and/or presented any form of identification, the transaction

code (or “TC#”) assigned to the transaction by Walmart (or the “visit number”

assigned by Walmart if different than the TC#, the date of the transaction or

visit; the address of the Walmart store at which the transaction or visit

occurred, and the amount of each coupon tendered. Indeed, approximately a

year earlier, in granting a motion for class certification, the court pointed to a

declaration proffered by Walmart that it maintains “the Teradata system”

which is a comprehensive database used by Walmart regarding transactional

information, as well as other database management systems. Farneth v. Wal-

Mart Stores, Inc., 2017 Pa. Dist. & Cnty. Dec. LEXIS 2259, *15 (March 21,

2017).

         99.   Law enforcement even subpoenas detailed purchasing data from

Walmart, including specifically from the “Walmart Pay application”, to aid in

their investigations. “Walmart Pay” is a free feature in the Walmart mobile

app for Android and iOS that easily allows for quick and secure payment by a

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Customer with their mobile device in Walmart stores, at any register. See

“How        Walmart   Pay    Works”,    https://www.walmart.com/cp/walmart-

pay/3205993. For example, in United States v. Whipple, No. 3:20-CR-31-KAC-

HBG, 2021 U.S. Dist. LEXIS 260740, at *3-4 (E.D. Tenn. Dec. 1, 2021), In

Whipple, Walmart was able to identify for law enforcement, from its databases,

recent purchases of specific products (specifically, red rain ponchos and

tan Dickies-brand jackets), and then subsequently identified, through its

Walmart Pay application, the requested transactional data and subscriber

information for those purchased items, providing law enforcement an email

with a copy of the receipt from the transaction and a document with the name,

address, and telephone number of the individual who made that purchase. Id.

       E.     Walmart’s Conduct is Recidivist and Willful

       100. In addition to using its extensive, sophisticated database

management and POS Systems to maximize its profits, Walmart deploys these

database management and POS Systems to implement, facilitate, cause,

and/or fail to prevent, nationwide, Falsely Inflating (Inflated) Product Weight,

the sale of Mislabeled Bagged Produce, Overcharging on Sold-by-Weight

Clearance Products and Overcharging on Sold-by-Weight Seafood Products.

       101. Further, based on information and belief, Walmart’s Falsely

Inflating Product Weight, the Overcharging on Sold-by-Weight Clearance

Products and Overcharging on Sold-by-Weight Seafood Products, are directly

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related to Walmart’s use and implementation of programming, coding and logic

which programmatically results in the weight of the product being inflated and

the Customer being overcharged, instead of charged the lowest advertised

price for the product.

      102. Walmart is aware of the requirement, importance and need that

its display pricing (including on Rollback Stickers, Price Stickers and Yellow

Stickers) be accurate, not false, and not mislead its Customers.

      103. Walmart is aware that inaccurate pricing misleads and deceives

Customers.

      104. Walmart is aware that charging a Customer a price for an item

that is more than the lowest advertised, quoted, posted, or marked

price is an impermissible overcharge.

      105. To this point, in addition to the Federal Trade Commission (“FTC”)

Act’s prohibition on “unfair or deceptive acts or practices in or affecting

commerce” (Section 5 of the FTC Act, 15 USC §45), the FTC requires that any

retailer who offers price comparisons “should make certain that the bargain

offer is genuine and truthful. Doing so will serve their own interest as well as

that of the general public.” 16 C.F.R. § 233.5.

      106. Even if the deceptive conduct and the overcharges of the nature

alleged herein were discovered by regulators, any resulting fines to Walmart



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amount to a tap on the wrist. 12

        107. In addition to the foregoing, even when Plaintiff informed Walmart

of other false and misleading pricing practices and overcharges in a lawsuit

Plaintiff filed in 2019 against Walmart in the United States District Court for

the Southern District of Florida, captioned Vassilios Kukorinis, et al. v.

Walmart, Inc., Case No. 1:19-cv-20592-JEM, Walmart did not implement

policies, procedures and/or changes to its POS Systems to prevent the use of

false and misleading pricing, and the improper and damaging overcharging of

Customers.

        108. Further, the Court in Vassilios Kukorinis, et al. v. Walmart, Inc.,

Case No. 1:19-cv-20592-JEM rejected Walmart’s attempt to dismiss Plaintiff’s

claims of other false and misleading pricing practices and overcharges alleged

there because Plaintiff continued to purchase products from Walmart that

resulted in the overcharges. Id. Dkt. 20, June 1, 2020 Order at 10. The Court

pointed out that “another plausible inference is that the misrepresentations

were so subtle that Plaintiff and other reasonable consumers failed to notice


   12 E.g. In March 2012, Walmart was assessed a $2 million fine for violating a 2008
ruling requiring it to resolve pricing errors at checkout (https://oag.ca.gov/news/press-
releases/attorney-general-kamala-d-harris-announces-wal-mart-pay-21-million-
failing-stop); In November 2021, the North Carolina Department of Agriculture and
Consumer Services fined two Walmart stores in Wilmington, North Carolina for
“repeated” and “excessive” price-scanner errors that resulted in customer overcharges
(https://www.starnewsonline.com/story/news/2021/11/09/wilmington-nc-walmart-
dollar-general-fined-price-scanning-errors/6358289001/)


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until a closer inspection was made. Again, this fact may highlight the pervasive

effect of the alleged misconduct.” Id. Here, too, the misrepresentations are

subtle, and Walmart’s conduct as alleged herein with respect to these grocery

products has a pervasive nature and effect.

      109. Walmart has failed to implement policies, procedures and/or

changes to its POS Systems to prevent the use of false and misleading pricing,

and the improper and damaging overcharging of Customers as alleged herein.

      110. Walmart knowingly failed to implement policies and procedures to

correct and/or prevent the systemic deceptive practices and overcharges

alleged herein.

                    CLASS DEFINITIONS AND ALLEGATIONS

      111. Plaintiff brings this action pursuant to Rule 23(b)(2), (b)(3), and

(c)(4) of the Federal Rules of Civil Procedure on behalf of himself and all others

similarly situated, as members of the following Florida Class, Nationwide

Class (under the laws of the state of Florida), and Multi-State Consumer

Protection Class:

      Florida Class: All persons in the State of Florida who purchased Sold-
      by-Weight Products, Bagged Produce, and/or Clearance Products
      (“Products”) from or at Walmart in the United States, within the statutes
      of limitations for each cause of action alleged and until the date notice is
      disseminated, and paid higher prices for the Products than advertised on
      the Rollback Stickers, Price Stickers, and/or Yellow Stickers associated
      with the Products.



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        Nationwide Class: All persons who purchased Sold-by-Weight
        Products, Bagged Produce, and/or Clearance Products (“Products”) from
        or at Walmart in the United States, within the statutes of limitations for
        each cause of action alleged and until the date notice is disseminated,
        and paid higher prices for the Products than advertised on the Rollback
        Stickers, Price Stickers, and/or Yellow Stickers associated with the
        Products.

        Multi-State Consumer Protection Class: All persons who purchased
        Sold-by-Weight Products, Bagged Produce, and/or Clearance Products
        (“Products”) from or at Walmart in Florida and any state with similar
        laws, 13 within the applicable statutes of limitations and until the date
        notice is disseminated, and paid higher prices for the Products than
        advertised on the Rollback Stickers, Price Stickers, and/or Yellow
        Stickers associated with the Products.



   13  Subject to, but not limited to, information propounded in discovery, under the
facts of the Action, at least the following states have similar laws to that of Florida
warranting certification of the Multi-State Consumer Protection Class that includes
such states: California (Cal. Civ. Code § 1770(a)(9)); Colorado (Colo. Rev. Stat. § 6-1-
101, et seq.); Connecticut (Conn. Gen. Stat. § 42-110, et seq.); Delaware (Del. Code
tit. 6, §§ 2511, et seq.); District of Columbia (D.C. Code § 28-3901, et seq.); Florida
(Fla. Stat. § 501.201, et seq.); Hawaii (Haw. Rev. Stat. § 480-1, et seq.); Idaho (Idaho
Code § 48- 601, et seq.); Illinois (815 ICLS § 505/1, et seq.); Maryland (Md. Comm.
Law Code Ann. § 13-1301, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.);
Michigan (Mich. Comp. Laws § 445.311, et seq.) (the notice requirement set forth in
§ 445.311, et seq. does not apply where, as here, the seller intentionally charges more
for a consumer item than the price displayed for the item in pursuant to Mich. Comp.
Laws § 445.319(4)); Minnesota (Minn. Stat. § 325F.67, et seq.); Minnesota (Minn.
Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat. § 407.010, et seq.); Nebraska (Neb.
Rev. Stat. § 59 1601, et seq.); Nevada (Nev. Rev. Stat. § 598.0915, et seq.); New
Hampshire (N.H. Rev. Stat. § 358A:1, et seq.); New Jersey (N.J. Stat. Ann. § 56:8-1,
et seq.); New Mexico (N.M. Stat. § 57-12-1, et seq.); New York (N.Y. Gen. Bus. Law §
349, et seq.); North Dakota (N.D. Cent. Code § 51-15-01, et seq.); Oklahoma (Okla.
Stat. tit. 15, § 751, et seq.); Oregon (Or. Rev. Stat. § 646.605, et seq.); Pennsylvania
(73 Pa. Stat. § 201-1 et seq.); Rhode Island (R.I. Gen. Laws § 6-13.1-1, et seq.); South
Dakota (S.D. Code Law § 37-24- 1, et seq.); Utah (Utah Code § 13-11-1, et seq.);
Virginia (VA Code § 59.1-196, et seq.); Vermont (Vt. Stat. tit. 9, § 2451, et seq.);
Washington (Wash. Rev. Code § 19.86.010, et seq.); West Virginia (W. Va. Code § 46A-
6-101, et seq.).


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      112. Excluded from the Classes are: (i) Walmart; (ii) Walmart’s

employees, officers, directors, legal representatives, heirs, successors, and

wholly or partly owned subsidiaries or affiliates; (iii) governmental entities;

(iv) all persons who make a timely election to be excluded from the Classes;

and (v) the Judge and staff to whom this case is assigned, and any member of

the Judge’s immediate family.

      113. Certification of Plaintiff’s claims for class-wide treatment is

appropriate because Plaintiff can prove the elements of his claims on a class-

wide basis using the same evidence as would be used to prove those elements

in individual actions alleging the same claim.

      114. This action has been brought and may be properly maintained on

behalf of each of the Classes proposed herein under Fed. R. Civ. P. 23.

      115. Numerosity: The members of the proposed Classes are so

numerous and geographically dispersed that the individual joinder of all Class

members is impracticable. While the exact number of Class members is

unknown to Plaintiff at this time and is in the exclusive control of Walmart, it

is ascertainable by appropriate discovery including through Walmart’s

sophisticated databases and POS Systems. Plaintiff is informed and

reasonably believes that Class members include hundreds of thousands, or

more, of geographically diverse people.



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      116. Commonality and Predominance: This action involves common

questions of law or fact, which predominate over any questions affecting

individual Class members, including, but not limited to:

           i.   whether Walmart’s pricing practices of Falsely Inflating

                Product    Weight,   selling   Mislabeled    Bagged     Produce,

                Overcharging on Sold-by-Weight Clearance Products, and

                Overcharging on Sold-by-Weight Seafood Products, are false,

                deceptive, misleading, unfair and/or unlawful;

          ii.   whether Walmart’s Rollback Stickers, Price Stickers, and/or

                Yellow Stickers utilized with Sold-by-Weight Products,

                Bagged Produce, and/or Clearance Products are false,

                misleading and deceptive;

         iii.   whether Walmart’s conduct violates the Florida’s Consumer

                Fraud Act, Florida common law, and other states’ laws;

         iv.    whether Walmart should be enjoined (temporarily and

                permanently) from selling Sold-by-Weight Products, Bagged

                Produce,    and/or   Clearance    Products       with   Rollback

                Stickers, Price Stickers, and/or Yellow Stickers (as

                applicable) that are false, misleading and deceptive;

          v.    whether Walmart should be enjoined from charging Customers

                anything but the lowest offered price for Sold-by-Weight

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                Products, Bagged Produce, and/or Clearance Products that

                is identified on the Rollback Stickers, Price Stickers,

                and/or Yellow Stickers;

         vi.    whether Walmart is required to modify its databases and POS

                Systems and implement controls to ensure that Walmart is only

                charging Customers the lowest offered price for Sold-by-

                Weight Products,    Bagged    Produce,    and/or    Clearance

                Products that is identified on the Rollback Stickers, Price

                Stickers, and/or Yellow Stickers;

         vii.   whether Walmart is required to modify its databases and POS

                Systems and implement controls to ensure that Walmart does

                not manipulate and falsify weights for Sold-by-Weight

                Products, Bagged Produce, and/or Clearance Products,

        viii.   whether Walmart is required to modify its databases and POS

                Systems and implement controls to ensure that the pricing

                information on Walmart’s Rollback Stickers, Price Stickers,

                and/or Yellow Stickers for Sold-by-Weight Products, Bagged

                Produce,   and/or    Clearance      Products   is   accurate,

                consistent, and not misleading;

         ix.    whether Plaintiff and the Classes members sustained actual

                damages; and

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          x.   whether Walmart has unjustly enriched itself by its deceptive

               conduct.

      117. Typicality: Plaintiff’s claims are typical of the other Class

members’ claims because, among other things, all Class members were injured

through the substantially uniform misconduct of Walmart with respect to its

use of false and misleading Rollback Stickers, Price Stickers, and/or Yellow

Stickers for Sold-by-Weight Products, Bagged Produce, and/or Clearance

Products (as applicable). Plaintiff is advancing the same claims and legal

theories on behalf of himself and all other Class members, and there are no

defenses that are unique to Plaintiff that would render Plaintiff atypical under

Fed. R. Civ. P. 23 and applicable jurisprudence. The claims of Plaintiff and

those of the other Class members arise from the same operative facts and are

based on the same legal theories.

      118. Adequacy       of   Representation:   Plaintiff   is   an    adequate

representative of the Classes because his interests do not conflict with the

interests of the other Class members he seeks to represent; he has retained

counsel competent and experienced in complex class action litigation and

Plaintiff will prosecute this action vigorously. The Class members’ interests

will be fairly and adequately protected by Plaintiff and his counsel.

      119. Superiority: A class action is superior to any other available means

for the fair and efficient adjudication of this controversy, and no unusual

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difficulties are likely to be encountered in the management of this matter as a

class action. The damages, harm, or other financial detriment suffered

individually by Plaintiff and Class members are relatively small compared to

the burden and expense that would be required to litigate their claims on an

individual basis against Defendant, making it impracticable for Class

members to individually seek redress for Defendant’s wrongful conduct. Even

if Class members could afford individual litigation, the court system could not.

Individualized litigation would create a potential for inconsistent or

contradictory judgments and increase the delay and expense to all parties and

the court system. By contrast, the class action device presents far fewer

management difficulties and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.

      120. Further, Defendant has acted or refused to act on grounds

generally applicable to each of the Classes and, accordingly, final injunctive or

corresponding declaratory relief with regard to members of the Classes as a

whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

      121. Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the

parties’ interests therein.

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      122. This Action is brought on behalf of the Multi-State Consumer

Protection Class because: (a) the allegations of fraud against Walmart satisfy

the elements of the consumer protection laws of each of the jurisdictions

encompassing the Multi-State Consumer Protection Class, there are no

variations that may exist among consumer fraud statutes that would affect the

outcome under any state’s laws given the allegations in this complaint; and (b)

Walmart stipulated to a nationwide settlement class in another case accusing

it of pricing misconduct and overcharges.

                           CAUSES OF ACTION

                              COUNT I
   Violation of Florida’s Deceptive and Unfair Trade Practices Act
                Florida Statute Section 501.201, et seq.
            (On Behalf of Plaintiff and the Florida Class)

      123. Plaintiff re-alleges and incorporates by reference herein all of the

allegations contained in paragraphs 1-122 as if fully set forth herein.

      124. Plaintiff brings this cause of action individually and on behalf

of the Florida Class.

      125. Florida’s Deceptive and Unfair Trade Practices Act Florida Statute

Section 501.201, et seq. (“FDUPTA”) was enacted to “protect the consuming

public and legitimate business enterprises from those who engage in

unconscionable, deceptive, or unfair acts or practices in the conduct of any

trade or commerce” and “to make state consumer protection and enforcement


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consistent with established policies of federal law relating to consumer

protection.”

      126. FDUPTA, Section 501.204 provides that:

                     •     “Unfair methods of competition, unconscionable acts

               or practices, and unfair or deceptive acts or practices in the conduct

               of any trade or commerce are hereby declared unlawful” and

                     •     “It is the intent of the Legislature that, in construing

               subsection (1), due consideration and great weight shall be given

               to the interpretations of the Federal Trade Commission and the

               federal courts relating to s. 5(a)(1) of the Federal Trade

               Commission Act, 15 U.S.C. s. 45(a)(1) as of July 1, 2017.”

      127. Plaintiff is a “consumer” as defined by Florida Statute § 501.203(7).

      128. Walmart’s advertising, soliciting and offering of, and the Plaintiff’s

and the Customer’s transactions of purchasing from or at Walmart, the Sold-

by-Weight Products, Bagged Produce, and/or Clearance Products, is “trade or

commerce” as defined by Florida Statute § 501.203(8).

      129. For the reasons discussed herein, Walmart violated FDUPTA,

Florida Statute § 501.201, et seq., by Falsely Inflating Product Weight, selling

Mislabeled Bagged Produce, Overcharging on Sold-by-Weight Clearance

Products, and Overcharging on Sold-by-Weight Seafood Products, as described

herein.

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      130. Walmart’s unconscionable, deceptive, and unfair acts and

practices of Falsely Inflating Product Weight, selling Mislabeled Bagged

Produce,   Overcharging    on   Sold-by-Weight   Clearance    Products,   and

Overcharging on Sold-by-Weight Seafood Products, as described herein, were

likely to, and did in fact, deceive members of the public, including Customers

(like Plaintiff and Class members) who were acting reasonably under the

circumstances and to their detriment.

      131. In committing the acts alleged above, Walmart engaged in

unconscionable, deceptive, and unfair acts and practices acts by charging

Customers prices for Sold-by-Weight Products, Bagged Produce, and/or

Clearance Products that exceeded the lowest advertised prices on those

products’ Rollback Stickers, Price Stickers, and/or Yellow Stickers (as

applicable).

      132. As a result of Walmart’s conduct alleged herein, Plaintiff and

Customers paid higher prices for Sold-by-Weight Products, Bagged Produce,

and/or Clearance Products than the lowest advertised price on the Rollback

Stickers, Price Stickers, and/or Yellow Stickers associated with the products,

resulting in actual damages by such overpayments for the products.

      133. Walmart’s actions constitute unconscionable, deceptive, or unfair

acts or practices because, as alleged herein, Walmart advertised, marketed,

and sold the Sold-by-Weight Products, Bagged Produce, and/or Clearance

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Products at one value but charged consumers a higher value at checkout,

thereby offending an established public policy, and engaging in immoral,

unethical, oppressive, and unscrupulous activities that are and were

substantially injurious to Customers.

      134. Walmart’s conduct is unconscionable, deceptive and unfair, as it is

likely to, and did, mislead Customers who were acting reasonably under the

circumstances.

      135. Walmart induced Customers to select and purchase Sold-by-

Weight Products, Bagged Produce, and/or Clearance Products based on the

pricing information on the Stickers and then to purchase these products at

higher prices for Walmart’s benefit.

      136. As a direct and proximate result of Walmart’s conduct, Plaintiff

and Class members have been harmed and suffered actual damages in that

they paid Walmart more for Sold-by-Weight Products, Bagged Produce, and/or

Clearance Products than advertised on the Rollback Stickers, Price Stickers,

and/or Yellow Stickers.

      137. Plaintiff and Class members have been and will continue to be

deceived or misled by Walmart’s false, misleading, unfair and deceptive pricing

practices which, on information and belief, are ongoing.

      138. Walmart knew and calculated that its practices would mislead

consumers, continuing such practices despite knowledge of the deception and

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the harm it caused and causes. Such conduct thus is willful and in wanton

disregard of Plaintiff’s and Class members’ rights.

      139. Plaintiff and Class members are entitled to: recover actual

damages to the extent permitted by law, including § 501.211, Florida Statutes;

reasonable attorneys’ fees and costs; injunctive relief’; and other relief as

deemed appropriate or permitted pursuant to the relevant law.

      140. Plaintiff reserves the right to allege other violations of FDUPTA

as discovery unfolds and as Defendant’s conduct is ongoing.

                             COUNT II
                       Declaratory Judgment
   Pursuant to Florida’s Deceptive and Unfair Trade Practices Act
             Florida Statute Section 501.201/211, et seq.
           (On Behalf of Plaintiff and the Florida Class)

      141. Plaintiff re-alleges and incorporates by reference herein all of the

allegations contained in paragraphs 1-140 as if fully set forth herein.

      142. FDUPTA, Section 501.211 provides that “Without regard to any

other remedy or relief to which a person is entitled, anyone aggrieved by a

violation of this part may bring an action to obtain a declaratory judgment that

an act or practice violates this part and to enjoin a person who has violated, is

violating, or is otherwise likely to violate this part.”

      143. As alleged supra, and also specifically in Count I, Plaintiff and the

members of the Florida Class have been aggrieved by Walmart’s violation of

FDUPTA.

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      144. Plaintiff, individually and on behalf of the members of the Florida

Class, seeks to obtain a declaratory judgment:

            A.     Finding that Walmart’s conduct of (i) Falsely Inflating

      Product    Weight,   (ii)   selling    Mislabeled   Bagged   Produce,   (iii)

      Overcharging    on   Sold-by-Weight       Clearance   Products,   and   (iv)

      Overcharging on Sold-by-Weight Seafood Products, individually and in

      the aggregate, are acts and practices that violate FDUPTA; and,

            B.     Enjoining Walmart, which has violated, is violating, and is

      likely to continue to violate FDUPTA with respect to (i) Falsely Inflating

      Product    Weight,   (ii)   selling    Mislabeled   Bagged   Produce,   (iii)

      Overcharging    on   Sold-by-Weight       Clearance   Products,   and   (iv)

      Overcharging on Sold-by-Weight Seafood Products, from continuing to

      sell Sold-by-Weight Products, Bagged Produce, and/or Clearance

      Products, until and only if, Walmart has implemented procedures,

      controls and processes, including modifications to its databases and POS

      Systems, to ensure that (a) Walmart’s Rollback Stickers, Price

      Stickers, and/or Yellow Stickers are accurate and not misleading

      with respect to the unit price and retail price of the product, and

      the products’ weight; and (b) Walmart only charges Customers the

      lowest offered price for Sold-by-Weight Products, Bagged Produce,

      and/or Clearance Products that is identified on the Rollback

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      Stickers, Price Stickers, and/or Yellow Stickers.

      145. Plaintiff and Class members are entitled to declaratory and

injunctive relief, reasonable attorneys’ fees and costs, and other relief as

deemed appropriate or permitted pursuant to the relevant law.

                            COUNT III
   VIOLATIONS OF STATE CONSUMER PROTECTION STATUTES
                   (On Behalf of Plaintiff and
           the Multi-State Consumer Protection Class)

      146. Plaintiff re-alleges and incorporates by reference herein all of the

allegations contained in paragraphs 1-145 as if fully set forth herein.

      147. Plaintiff and Class members have been injured as a result of

Walmart’s violations of the state consumer protection statutes listed, supra,

each of which prohibits, and provides recourse to Plaintiff and Class members,

Walmart’s fraudulent, deceptive, unfair and unconscionable acts, practices and

conduct.

      148. Walmart’s conduct as alleged herein violates the consumer

protection, unfair trade practices and deceptive acts laws of each of the

jurisdictions encompassing the Multi-State Consumer Protection Class.

      149. Walmart violated the unfair and deceptive acts and practices laws

of the states comprising the Multi-State Consumer Protection Class by Falsely

Inflating Product Weight, selling Mislabeled Bagged Produce, Overcharging on

Sold-by-Weight Clearance Products, and Overcharging on Sold-by-Weight


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Seafood Products, as described herein

      150. Walmart’s unfair and deceptive acts were likely to, and did in fact,

deceive members of the public, including Customers (like Plaintiff and Class

members) who were acting reasonably under the circumstances and to their

detriment.

      151. In committing the acts alleged above, Walmart engaged in

unconscionable, deceptive, and unfair acts and practices acts by charging

Customers prices for Sold-by-Weight Products, Bagged Produce, and/or

Clearance Products that exceeded the lowest advertised prices on those

products’ Rollback Stickers, Price Stickers, and/or Yellow Stickers (as

applicable).

      152. As a result of Walmart’s conduct alleged herein, Plaintiff and

Customers paid higher prices for Sold-by-Weight Products, Bagged Produce,

and/or Clearance Products than the lowest advertised price on the Rollback

Stickers, Price Stickers, and/or Yellow Stickers associated with the products,

resulting in actual damages by such overpayments for the products.

      153. Walmart’s actions constitute unconscionable, deceptive, or unfair

acts or practices under each state encompassed by the Multi-State Consumer

Protection Class because, as alleged herein, Walmart advertised, marketed,

and sold the Sold-by-Weight Products, Bagged Produce, and/or Clearance

Products at one value but charged consumers a higher value at checkout,

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thereby offending an established public policy, and engaging in immoral,

unethical, oppressive, and unscrupulous activities that are and were

substantially injurious to Customers.

      154.   Walmart’s conduct is unconscionable, deceptive and unfair, as it

is likely to, and did, mislead Customers who were acting reasonably under the

circumstances.

      155. By misleading Plaintiff and Class members into believing that

they were purchasing Sold-by-Weight Products, Bagged Produce, and/or

Clearance Products for the prices represented on the Rollback Stickers, Price

Stickers, and/or Yellow Stickers, Walmart induced them to select such

products based on the pricing information on the Stickers.

      156. Customers and Class members relied on and were misled by

Walmart’s unfair and deceptive practices to their detriment (and Walmart’s

benefit) by purchasing the Sold-by-Weight Products, Bagged Produce, and/or

Clearance Products at prices higher than were advertised on the Rollback

Stickers, Price Stickers, and/or Yellow Stickers.

      157. As a direct and proximate result of Walmart’s conduct, Customers,

Plaintiff and Class members have been harmed and suffered actual damages

in that they paid Walmart more for Sold-by-Weight Products, Bagged Produce,

and/or Clearance Products than the lowest advertised price on the Rollback

Stickers, Price Stickers, and/or Yellow Stickers.

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      158. Customers and Class members have been and will continue to be

deceived or misled by Walmart’s false, misleading, unfair and deceptive pricing

practices which, on information and belief, are ongoing.

      159. Walmart knew and calculated that its practices would mislead

consumers, continuing such practices despite knowledge of the deception and

the harm it caused and causes. Such conduct thus is willful and in wanton

disregard of Plaintiff’s and Class members’ rights.

      160. Walmart’s misrepresentations were material to Plaintiff’s,

Customers’ and Class members’ decision to purchase the Sold-by-Weight

Products, Bagged Produce, and Clearance Products.

      161. Walmart made its untrue and/or misleading statements and

representations willfully, wantonly, and /or with reckless disregard for the

truth and for the rights of consumers.

      162. As a result of Walmart’s violations of the states’ unfair and

deceptive practices laws, Plaintiff, Customers and Class members paid higher

prices for Sold-by-Weight Products, Bagged Produce, and Clearance Products.

      163. Pursuant to the states’ unfair and deceptive practices laws,

Plaintiff and Class members are entitled to recover compensatory damages,

restitution, punitive and special damages including but not limited to treble

damages, reasonable attorneys’ fees and costs and other injunctive or

declaratory relief as deemed appropriate or permitted pursuant to the relevant
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law.

                               COUNT IV
                        UNJUST ENRICHMENT
            (On Behalf of Plaintiff and the Nationwide Class)

       164. Plaintiff re-alleges and incorporates by reference herein all of the

allegations contained in paragraphs 1-144 as if fully set forth herein.

       165. To the extent of any overlap of claims, Plaintiff’s Unjust

Enrichment cause of action herein is pled in the alternative to Counts I, II, and

III.

       166. Plaintiff brings this action individually and on behalf of the

Nationwide Class.

       167. Plaintiff and the Class members conferred benefits on Walmart by

purchasing Sold-by-Weight Products, Bagged Produce, and/or Clearance

Products.

       168. Plaintiff and Class members conferred a monetary benefit on

Walmart by paying more for Sold-by-Weight Products, Bagged Produce, and/or

Clearance Products than the lowest advertised price on the Rollback Stickers,

Price Stickers, and/or Yellow Stickers.

       169. Walmart has been unjustly enriched in retaining the revenues

derived from Plaintiff’s and the other members of the Class’s purchases of the

Sold-by-Weight Products, Bagged Produce, and/or Clearance Products at prices

that exceeded the lowest advertised price on the Rollback Stickers, Price
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Stickers, and/or Yellow Stickers. Retention of those monies under these

circumstances is unjust and inequitable because Walmart’s Stickers were false

and misleading to Customers, which caused injuries to Plaintiff and the other

members of the Classes.

      170. Walmart knew that Plaintiff and Class Members conferred a

benefit on Walmart and accepted or retained that benefit.

      171. Through its false, misleading, unfair and deceptive pricing

practices, Walmart unjustly received and retained benefits at the expense of

Plaintiff and Class members, specifically the difference in price between what

was charged and what should have been charged, and the failure to provide

the Sold-by-Weight Products, Bagged Produce, and/or Clearance Products at

the lowest prices advertised and represented on the Rollback Stickers, Price

Stickers, and/or Yellow Stickers.

      172. By and through Walmart’s false, misleading, unfair and deceptive

pricing practices, Walmart has received, had use of, and accrued interest on

these funds wrongfully obtained from Plaintiff and Class members.

      173. Walmart should not be permitted to retain the money belonging to

Plaintiff and Class members.

      174. Plaintiff and Class members have suffered pecuniary harm as a

direct and proximate result of Walmart’s conduct.

      175. Plaintiff and Class members have no adequate remedy at law.

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      176. Plaintiff and Class members are entitled to restitution of,

disgorgement of, and/or the imposition of a construct trust upon all profits,

benefits, and other compensation obtained by Walmart, and for such other

relief that this Court deems proper, as a result of their unfair, misleading, and

inequitable conduct.

                           REQUEST FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of other members of

the Classes proposed in this Action, respectfully requests that the Court enter

judgment in Plaintiff’s favor and against Walmart as follows:

            A.    Declaring that this is a class action pursuant to Rule 23 of

      the Federal Rules of Civil Procedure on behalf of the proposed Classes

      requested herein, designating Plaintiff as Class Representative and

      appointing the undersigned counsel as Class Counsel.

            B.    Entry of a Declaratory Judgment, (I) finding that Walmart’s

      conduct of (a) Falsely Inflating Product Weight, (b) selling Mislabeled

      Bagged Produce, (c) Overcharging on Sold-by-Weight Clearance

      Products, and (d) Overcharging on Sold-by-Weight Seafood Products,

      individually and in the aggregate, are acts and practices that violate

      FDUPTA; and, (II) enjoining Walmart from continuing to sell Sold-by-

      Weight Products, Bagged Produce, and/or Clearance Products, until and

      only if, Walmart has implemented procedures, controls and processes,
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      including modifications to its databases and POS Systems, to ensure that

      (a) Walmart’s Rollback Stickers, Price Stickers, and/or Yellow

      Stickers are accurate and not misleading with respect to the unit

      price and retail price of the product, and the products’ weight; and

      (b) Walmart only charges Customers the lowest offered price for Sold-

      by-Weight Products, Bagged Produce, and/or Clearance Products

      that is identified on the Rollback Stickers, Price Stickers, and/or

      Yellow Stickers.

               C.   Ordering injunctive relief as permitted by law or equity,

      including enjoining Walmart from continuing the unlawful, unfair and

      deceptive business practices as set forth herein, and requiring it to

      implement systemic controls to prevent the same from continuing to

      occur;

               D.   Ordering restitution and disgorgement of all profits and

      unjust enrichment that Walmart obtained from Plaintiff and the Class

      members as a result of Walmart’s unlawful, unfair and deceptive

      business practices;

               E.   Awarding actual damages, compensatory damages, and

      punitive damages in an amount to be determined at trial;

               F.   Ordering Walmart to pay attorneys’ fees and litigation costs

      to Plaintiff and the other members of the Classes;

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            G.    Ordering Walmart to pay both pre- and post-judgment

      interest on any amounts awarded; and

            H.    Ordering such other and further relief as the Court deems

      just and proper.

                                JURY DEMAND

      Plaintiff demands a trial by jury of all claims in this Class Action

Complaint so triable.

Dated: October 19, 2022

                                     Respectfully submitted,


                                     CHIMICLES SCHWARTZ KRINER &
                                     DONALDSON-SMITH LLP

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                                     proposed classes




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